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                                                                                               JS-6
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES -- GENERAL

Case No.      CV 18-2471-JFW(AGRx)                                                 Date: May 11, 2018

Title:        Veronica Flores -v- Dignity Health, et al.

PRESENT:
             HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

              Shannon Reilly                                  None Present
              Courtroom Deputy                                Court Reporter


ATTORNEYS PRESENT FOR PETITIONER:                    ATTORNEYS PRESENT FOR RESPONDENT:
              None                                                  None

PROCEEDINGS (IN CHAMBERS):                ORDER GRANTING RESPONDENT DIGNITY
                                          HEALTH’S MOTION TO DISMISS PETITION TO
                                          CONFIRM ARBITRATION AWARD [filed 4/6/2018;
                                          Docket No. 16]

                                          ORDER DENYING AS MOOT PETITIONER VERONICA
                                          FLORES’ MOTION FOR REMAND [filed 4/6/2018;
                                          Docket No. 15]

        On April 6, 2018, Respondent Dignity Health (“Dignity Health”) filed a Motion to Dismiss
Petition to Confirm Arbitration Award. On April 19, 2018, Petitioner Veronica Flores (“Petitioner”)
filed her Opposition. On April 30, 2018, Dignity Health filed its Reply.

       In addition, on April 6, 2018, Petitioner filed a Motion for Remand. On April 13, 2018,
Dignity Health filed its Opposition. On April 19, 2018, Petitioner filed her Reply. Pursuant to Rule
78 of the Federal Rules of Civil Procedure and Local Rule 7-15, the Court finds that these matters
are appropriate for decision without oral argument. The hearings calendared for May 14, 2018 are
hereby vacated and the matters taken off calendar. After considering the moving papers, and the
arguments therein, the Court rules as follows:

I.       FACTUAL AND PROCEDURAL BACKGROUND

       Dignity Health, a California corporation, is the fifth largest health system in the United States
and the largest hospital provider in California. Dignity Health operates 358 hospitals, care centers,
and clinics in California, including St. John’s Regional Medical Center (“SJRMC”) in Oxnard,
California. Petitioner, a citizen of California, was employed by Dignity Health for 23 years as a


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Registered Nurse in the Emergency Department of SJRMC. During her employment, she
was a member of the Service Employees International Union (“SEIU”) and worked under the terms
of a Collective Bargaining Agreement (“CBA”) between SEIU and Dignity Health.

       In February of 2014, Petitioner complained about insufficient staffing of nurses, and she also
completed an “Assignment Dispute Objection” form (“Dispute Form”), which is a form created by
the SEIU. Specifically, Petitioner complained that SJRMC was violating a state law that requires
hospitals to adhere to particular nurse to patient ratios, including staffing one nurse for every one
patient placed on a “5150" psychiatric hold. The Dispute Form was submitted to SJRMC’s nursing
supervisor, the director of the department, and an SEIU representative. It was also faxed to the
State Department of Health Services, the Board of Registered Nursing, the Board of Vocational
Nursing and Psychiatric Treatment, and Cal-OSHA. As a result, Dignity Health and state officials
investigated Petitioner’s complaint.

       On April 1, 2014, Petitioner had a disagreement with her supervisor, Sherry Sterling, about
whether Petitioner had submitted her Mandatory Nursing Review—which nurses were required to
complete yearly. Near the end of Petitioner’s shift, Debbie Gaultieri, Nurse Supervisor, instructed
Petitioner to report to Sterling’s office for a meeting. During the meeting, Gaultieri told Petitioner
that other nurses had reported concerns about Petitioner’s patient care and suspected that
Petitioner may be under the influence. As a result, Petitioner was told she would need to take a
drug test. Petitioner stated that she had not taken any medications that day, but had taken
prescription pills the night before for neck injuries she suffered in 2007 and 2010. Petitioner was
immediately suspended and escorted by security to another facility to undergo a drug test.

       During her suspension, Petitioner met with representatives from Dignity Health and the
SEIU several times regarding her work performance. Petitioner’s suspension lasted 57 days, and
she returned to work on May 27, 2014. While Petitioner was suspended and shortly after she
returned to work, the SEIU filed grievances on Petitioner’s behalf related to Dignity Health’s failure
to return her to work within fourteen days and failure to progressively discipline her in accordance
with the terms of the CBA.

       On July 16, 2014, Petitioner provided Dignity Health with a doctor’s note, which required
one of her three weekly shifts to be sedentary. Her request for reasonable accommodation was
subsequently denied, and she was placed on involuntary leave without pay from July 17, 2014 until
August 1, 2014. She returned to work on August 5, 2014 and provided Dignity Health with
documentation indicating that she could fully resume her regular work duties.

        On April 9, 2015, Dignity Health terminated Petitioner’s employment. On April 24, 2015, the
SEIU filed a grievance on her behalf for wrongful termination in violation of the terms of the CBA.
The parties proceeded to arbitration. On August 7, 2017, the arbitrator entered an award in favor
of Petitioner and ordered Dignity Health to reinstate Petitioner, subject to specific conditions, and
provide her with back pay.

       On February 2, 2018, Petitioner filed a Petition for Confirmation of Arbitration Award and
Entry of Judgment, pursuant to Code of Civil Procedure Sections 1285 et seq. On March 27,
2018, Dignity Health removed the action to this Court.



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      On April 6, 2018, Dignity Health filed its Motion to Dismiss pursuant to Federal Rule of Civil
Procedure 12(b)(6) on the grounds that Petitioner lacks standing to pursue this action.

II.       LEGAL STANDARD

        A motion to dismiss brought pursuant to Federal Rule of Civil Procedure 12(b)(6) tests the
legal sufficiency of the claims asserted in the complaint. “A Rule 12(b)(6) dismissal is proper only
where there is either a ‘lack of a cognizable legal theory’ or ‘the absence of sufficient facts alleged
under a cognizable legal theory.’” Summit Tech., Inc. v. High-Line Med. Instruments Co., Inc., 922
F. Supp. 299, 304 (C.D. Cal. 1996) (quoting Balistreri v. Pacifica Police Dept., 901 F.2d 696, 699
(9th Cir. 1988)). However, “[w]hile a complaint attacked by a Rule 12(b)(6) motion to dismiss does
not need detailed factual allegations, a plaintiff’s obligation to provide the ‘grounds’ of his
‘entitlement to relief’ requires more than labels and conclusions, and a formulaic recitation of the
elements of a cause of action will not do.” Bell At. Corp. v. Twombly, 550 U.S. 544, 555 (2007)
(internal citations and alterations omitted). “[F]actual allegations must be enough to raise a right to
relief above the speculative level.” Id.

       In deciding a motion to dismiss, a court must accept as true the allegations of the complaint
and must construe those allegations in the light most favorable to the nonmoving party. See, e.g.,
Wyler Summit P’ship v. Turner Broad. Sys., Inc., 135 F.3d 658, 661 (9th Cir. 1998). “However, a
court need not accept as true unreasonable inferences, unwarranted deductions of fact, or
conclusory legal allegations cast in the form of factual allegations.” Summit Tech., 922 F. Supp. at
304 (citing W. Mining Council v. Watt, 643 F.2d 618, 624 (9th Cir. 1981) cert. denied, 454 U.S.
1031 (1981)).

       “Generally, a district court may not consider any material beyond the pleadings in ruling on a
Rule 12(b)(6) motion.” Hal Roach Studios, Inc. v. Richard Feiner & Co., 896 F.2d 1542, 1555 n. 19
(9th Cir. 1990) (citations omitted). However, a court may consider material which is properly
submitted as part of the complaint and matters which may be judicially noticed pursuant to Federal
Rule of Evidence 201 without converting the motion to dismiss into a motion for summary
judgment. See, e.g., id.; Branch v. Tunnel, 14 F.3d 449, 454 (9th Cir. 1994).

       Where a motion to dismiss is granted, a district court must decide whether to grant leave to
amend. Generally, the Ninth Circuit has a liberal policy favoring amendments and, thus, leave to
amend should be freely granted. See, e.g., DeSoto v. Yellow Freight Sys., Inc., 957 F.2d 655, 658
(9th Cir. 1992). However, a Court does not need to grant leave to amend in cases where the Court
determines that permitting a plaintiff to amend would be an exercise in futility. See, e.g., Rutman
Wine Co. v. E. & J. Gallo Winery, 829 F.2d 729, 738 (9th Cir. 1987) (“Denial of leave to amend is
not an abuse of discretion where the pleadings before the court demonstrate that further
amendment would be futile.”).

III.      DISCUSSION

        Dignity Health argues that this action must be dismissed because Petitioner lacks standing
to petition the Court to confirm the arbitration award. Petitioner argues that she has




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standing to bring this action under California Code of Civil Procedure Section 1285 because she is
a third party beneficiary of the arbitration agreement.1

        Section 1285 of the California Code of Civil Procedure provides that “any party to an
arbitration in which an award has been made may petition the court to confirm, correct or vacate
the award.” Pursuant to Section 1280(e) a “party to the arbitration” is a party to the arbitration
agreement: (1) who seeks to arbitrate a controversy pursuant to the agreement; (2) against whom
such arbitration is sought pursuant to the agreement; or (3) who is made a party to such arbitration
by order of the neutral arbitrator upon such party’s application, upon the application of any other
party to the arbitration or upon the neutral arbitrator’s own determination.

        Under California law, “when an employee grievance is arbitrated under the terms of a
collective-bargaining agreement between an employer and a union, the individual employee does
not have standing to petition to vacate [or confirm] an award unless the collective-bargaining
agreement contains a provision expressly giving employees themselves the right to submit
disputes to arbitration”, or “the arbitrator has made the employee a party to the arbitration under
Code of Civil Procedure [S]ection 1280 subdivision 3.” Melander v. Hughes Aircraft Co., 194 Cal.
App. 3d 542, 543–44 (1987).

        It is undisputed that the only parties to the CBA are SEIU and Dignity Health. See Docket
No. 1-5. The CBA provides that the SEIU may submit a written request to resolve a dispute in
arbitration. Id. at 114. Petitioner has not identified any provision of the CBA that expressly or
impliedly provides employees the right to submit a dispute to arbitration. In addition, there is
nothing in the arbitrator’s opinion that suggests that Petitioner was made a party to the arbitration
proceeding within the meaning of Section 1280(e). Accordingly, the Court concludes that
Petitioner has failed to demonstrate that she was a party to the arbitration within the meaning of
Section 1285.

       Petitioner argues that even if she was not a formal party to the arbitration, the Court should
conclude she has standing to petition the Court to enforce the arbitration award because she is a
third-party beneficiary of the arbitration agreement. See Bouton v. USAA Cas. Ins. Co., 167 Cal.
App. 412 (2008). According to Petitioner, she sought (through the SEIU) to arbitrate her dispute
with Dignity Health, she was the subject of the arbitration, and she suffered actual harm; therefore,
she is entitled to enforce the arbitration award. However, Petitioner’s argument directly contradicts
and ignores California and Ninth Circuit case law, which clearly establishes that an individual
employee does not have standing to petition to vacate or confirm an arbitration award unless the
relevant CBA expressly provides the employee with a right to submit a dispute to arbitration or the
employee is a party to the arbitration under Section 1280. Melander, 194 Cal. App. 3d at 543–44;


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         Dignity Health also argues that Petitioner lacks standing to assert her claims under the
Labor Management Relations Act (the “LMRA”) and the Federal Arbitration Act (the “FAA”).
Although Petitioner did not address these arguments in her Opposition, the Court has considered
these arguments and concludes that Petitioner lacks standing under the LMRA and FAA because
she was not a party to the CBA or the arbitration proceeding and did not assert a claim against the
SEIU for breach of its duty of fair representation. See e.g., Meeks v. HMS Host, 2011 WL
5416191, at *3 (N.D. Cal. Nov. 8, 2011), aff’d 519 Fed. App’x. 513 (9th Cir. 2013).

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See e.g., Meeks v. HMS Host, 519 Fed. App’x. 513, 514 (9th Cir. 2013) (citing Melander for the
proposition that “only a party to the arbitration agreement has standing to petition to vacate an
arbitration decision, and that the employee-union member lacked standing to attack the arbitration
award”). Moreover, Petitioner’s reliance on the Bouton decision to support her argument is
unpersuasive because that decision is not binding on this Court and it is factually distinguishable.
Accordingly, the Court concludes that Petitioner lacks standing to enforce the arbitration award.
Because Petitioner cannot demonstrate that she has standing, the Court concludes that granting
leave to amend would be futile.

IV.      CONCLUSION

        For the foregoing reasons, the Court GRANTS Dignity Health’s Motion to Dismiss, and the
Petition to Confirm Arbitration Award is DISMISSED without leave to amend. In light of the Court’s
ruling, Petitioner’s Motion for Remand is DENIED as MOOT.



         IT IS SO ORDERED.




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